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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                      :
                                              :       Criminal No. 21-CR-245 (AJT)
                 v.                           :
                                              :
IGOR Y. DANCHENKO,                            :
                                              :
                        Defendant.            :


                         THE GOVERNMENT’S MOTION TO SEAL

         Pursuant to Local Criminal Rule 49(E), the United States moves for an Order sealing

the “Government’s Motions In Limine.” A proposed Order is attached for the Court’s

consideration.

   I.       Items to be Sealed and Necessity for Sealing

         The Government respectfully requests the Court to seal the “Government’s Motions In

Limine” for the reasons placed on the record in the parties’ August 30, 2022 Classified

Information Procedures Act Section 6 hearing and until such time when the defendant advises

the Court whether he objects to the motions, in whole or part, being filed on the public docket.

   II.      Precedent for Sealing Documents

         The Court has the inherent power to seal materials submitted to it. See United States v.

Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Maypenny, 672 F.2d 761,

(9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210 (9th Cir. 1989); see also

Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650 F.2d 293 (D.C. Cir.

1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975). “The trial court has supervisory

power over its own records and may, in its discretion, seal documents if the public’s right of
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access is outweighed by competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir.

1984).

   III.      Period of Time to Have the Document Under Seal

          The Government respectfully requests that the materials remain under seal until further

order of the Court. Accordingly, the Government respectfully requests that an Order be entered

allowing the aforementioned material to be placed under seal.



                                               Respectfully submitted,

                                               JOHN H. DURHAM
                                               Special Counsel

                                               By:

                                               /s/
                                               Michael T. Keilty
                                               Assistant Special Counsel
                                               michael.keilty@usdoj.gov

                                               Brittain Shaw
                                               Assistant Special Counsel
                                               brittain.shaw@usdoj.gov
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                                      Certificate of Service

       I hereby certify that on the 1st day of September, 2022, I electronically filed a copy of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a notification

of such filing (NEF) to all counsel of record.

                                                 By:

                                                 /s/
                                                 Michael T. Keilty
                                                 Assistant Special Counsel
                                                 michael.keilty@usdoj.gov
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                      :
                                              :      Criminal No. 21-CR-245 (AJT)
               v.                             :
                                              :
IGOR Y. DANCHENKO,                            :
                                              :
                       Defendant.             :


                                       ORDER TO SEAL

       This matter having come before the Court on the United States’ Motion to Seal pursuant

to Local Criminal Rule 49(E) and for good cause shown, it is

       ORDERED that the “Government’s Motions In Limine” shall be maintained under seal

and will remain under seal until further order of the Court.



                                              The Honorable Anthony J. Trenga
                                              United States District Judge
